Case 2:20-cv-01044-MCE-CKD Document 38-7 Filed 06/11/20 Page 1 of 5




                            Exhibit 6

          Governor Newsom’s Executive Order
                      N-67-20
Case 2:20-cv-01044-MCE-CKD Document 38-7 Filed 06/11/20 Page 2 of 5
Case 2:20-cv-01044-MCE-CKD Document 38-7 Filed 06/11/20 Page 3 of 5
Case 2:20-cv-01044-MCE-CKD Document 38-7 Filed 06/11/20 Page 4 of 5
Case 2:20-cv-01044-MCE-CKD Document 38-7 Filed 06/11/20 Page 5 of 5
